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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 RYAN WODARSKI,                                     X
                                                    )
                       Plaintiff,                   )
                                                    )
         v.                                         )   Civil Action No. ___________
                                                    )
 AIMMUNE THERAPEUTICS, INC.,                        )   COMPLAINT FOR
 JAYSON D.A. DALLAS, MARK T. IWICKI,                )   VIOLATIONS OF THE
 GREG BEHAR, BRETT K. HAUMANN,                      )   SECURITIES EXCHANGE ACT
 MARK D. MCDADE, STACEY D.                          )   OF 1934
 SELTZER, PATRICK G. ENRIGHT,                       )
 KATHRYN E. FALBERG, SPN                            )   JURY TRIAL DEMAND
 MERGERSUB, INC., and SOCIÉTÉS DES                  )
 PRODUITS NESTLÉ S.A.,                              )
                                                    )
                       Defendants.                  X

       Plaintiff Ryan Wodarski (“Plaintiff”) alleges the following upon information and belief,

including investigation of counsel and review of publicly-available information, except as to those

allegations pertaining to Plaintiff, which are alleged upon personal knowledge:

                                    NATURE OF THE ACTION

       1.      Plaintiff brings this action as a stockholder of Aimmune Therapeutics, Inc.

(“Aimmune” or the “Company”) against Aimmune’s Board of Directors (the “Board” or the

“Individual Defendants”) for their violations of Sections 14(e) and 20(a) of the Securities

Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14d-9, 17 C.F.R. 240.14d-9,

arising out of the Board’s attempt to sell the Company to Sociétés des Produits Nestlé S.A. through

its wholly-owned subsidiary SPN MergerSub, Inc. (collectively “Nestlé”).

       2.      Defendants have violated the above-referenced sections of the Exchange Act by

causing a materially incomplete and misleading solicitation statement (the “14D-9”) to be filed

with the Securities and Exchange Commission (“SEC”) on September 14, 2020. The 14D-9

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recommends that Aimmune stockholders tender their shares in favor of a proposed transaction (the

“Proposed Transaction”) whereby Aimmune is acquired by Nestlé. The Proposed Transaction was

first disclosed on August 31, 2020, when Aimmune and Nestlé announced that they had entered

into a definitive merger agreement (the “Merger Agreement”) pursuant to which Nestlé will

acquire all of the outstanding shares of common stock of Aimmune for $34.50 per share (the

“Merger Consideration”). The deal is valued at approximately $2.6 billion and is expected to close

in the fourth quarter of 2020.

       3.      The 14D-9 is materially incomplete and contains misleading representations and

information in violation of Sections 14(e) and 20(a) of the Exchange Act. Specifically, the 14D-

9 contains materially incomplete and misleading information concerning the sales process,

financial projections prepared by Aimmune’s management, as well as the financial analyses

conducted by J.P. Morgan Securities LLC (“JPMorgan”) and Lazard Frères & Co. LLC

(“Lazard”), Aimmune’s financial advisors.

       4.      For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

defendants from taking any steps to consummate the Proposed Transaction, including filing any

amendment to the 14D-9 or otherwise causing an amendment to the 14D-9 to be disseminated to

Aimmune’s stockholders, unless and until the material information discussed below is included in

any such amendment or otherwise disseminated to Aimmune’s stockholders. In the event the

Proposed Transaction is consummated without the material omissions referenced below being

remedied, Plaintiff seeks to recover damages resulting from the defendants’ violations.

                                            PARTIES

       5.      Plaintiff is, and has been at all relevant times, the owner of shares of common stock

of Aimmune.



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        6.     Defendant Aimmune is a corporation organized and existing under the laws of the

State of Delaware. The Company’s principal executive offices are located at 8000 Marina

Boulevard, Suite 300, Brisbane, California 94005. Aimmune’s common stock trades on NASDAQ

under the ticker symbol “AIMT.”

        7.     Defendant Jayson D.A. Dallas (“Dallas”) has been President, Chief Executive

Officer (“CEO”) and a director of the Company since 2018.

        8.     Defendant Mark T. Iwicki (“Iwicki”) has been a director of the Company since

2015.

        9.     Defendant Greg Behar (“Behar”) has been a director of the Company since 2016.

Defendant Behar is the CEO of Nestlé Health Science, of which Nestlé is a part.

        10.    Defendant Brett K. Haumann (“Haumann”) has been a director of the Company

since 2018.

        11.    Defendant Mark D. McDade (“McDade”) has been a director of the Company and

Chair of the Board since 2015.

        12.    Defendant Stacey D. Seltzer (“Seltzer”) has been a director of the Company since

2015.

        13.    Defendant Patrick G. Enright (“Enright”) has been a director of the Company since

2013.

        14.    Defendant Kathryn E. Falberg (“Falberg”) has been a director of the Company since

2015.

        15.    Defendants Dallas, Iwicki, Behar, Haumann, McDade, Seltzer, Enright, and

Falberg are collectively referred to herein as the “Board.”




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        16.     Defendant Sociétés des Produits Nestlé S.A. is a société anonyme organized under

the laws of Switzerland.

        17.     Defendant SPN MergerSub, Inc. is a Delaware corporation and is a wholly-owned

subsidiary of Sociétés des Produits Nestlé S.A.

                                  JURISDICTION AND VENUE

        18.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(e) and 20(a) of the Exchange Act.

        19.     Personal jurisdiction exists over each defendant either because the defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        20.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because: (i) a significant amount of the conduct at issue

took place and had an effect in this District; and (ii) Aimmune is incorporated in this District.

                                SUBSTANTIVE ALLEGATIONS

    A. Background of the Company and the Proposed Transaction

        21.     Aimmune develops treatments for food allergies. These treatments are designed to

desensitize people to food allergens, which would reduce allergic reactions and allergy symptom

severity. Aimmune’s lead product is PALFORZIA, a powder indicated to mitigate allergic

reactions to peanuts.      In January 2020, PALFORZIA received FDA approval for sale and

marketing in the United States for use in patients four years old and older, and the Company is

conducting clinical trials for the use of PALFORZIA in children younger than four years old.
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Aimmune stated in its Form 10-K filed with the SEC on February 27, 2020 that it intended to

commercialize PALFORZIA in Europe once it received UK and EU approvals. The Company

also is developing treatments for egg allergies and multiple-nut allergies, as well as a treatment to

be used in conjunction with PALFORZIA to improve treatment outcomes.

       22.     Just a few weeks after Aimmune filed its Form 10-K, the COVID-19 pandemic

reached the United States. In March 2020, states and cities closed non-essential businesses and

directed people to work and stay at home. The Company’s efforts to begin selling PALFORZIA

were paused, as the treatment first needs to be administered in a certified healthcare setting.

Despite the delay, Aimmune reported in a press release dated May 11, 2020, that allergists were

still enthusiastic about using PALFORZIA when they were able to reopen their offices. And

despite COVID-19’s impact on the United States and countries throughout the world, Aimmune

expected that the EU review of PALFORZIA would stay on track, with at least one approval

received by the end of 2020.

       23.     Aimmune’s optimism was not misplaced. On June 8, 2020, the Company reported

data from patients who received two years of daily PALFORZIA treatments. The data showed

that more than 80% of patients were desensitized to higher amounts of peanut protein, and a

majority of patients reported fewer treatment-related adverse events. Aimmune released the full

results of its European phase 3 trial on July 21, 2020. That trial showed that patients receiving

PALFORZIA experienced desensitization to peanuts after nine months of treatment. And as the

Company announced in a press release issued on July 30, 3030, allergists in the United States were

already beginning to offer PALFORZIA to their patients, which was earlier than the Company

expected.




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       24.       Despite Aimmune’s upward trajectory, the Company announced on August 31,

2020 that it had entered into the Merger Agreement with Nestlé.

       25.       According to the press release issued on August 31, 2020 announcing the Proposed

Transaction:

                   Aimmune Therapeutics Enters Definitive Agreement with
                 Sociétés des Produits Nestlé S.A., Part of Nestlé Health Science

             •   Sociétés des Produits Nestlé S.A., part of Nestlé Health Science, to acquire
                 Aimmune for $34.50 per share in cash, representing a total equity value of
                 $2.6 Billion and a 174% premium to Aimmune’s closing price on
                 August 28, 2020

             •   Aimmune’s PALFORZIA® [Peanut (Arachis hypogaea) Allergen Powder-
                 dnfp] is the world’s first approved treatment for peanut allergy

             •   Transaction expected to be completed in the fourth quarter of 2020

       Brisbane, CA, August 31, 2020 – Aimmune Therapeutics Inc. (Nasdaq: AIMT), a
       biopharmaceutical company developing and commercializing treatments for
       potentially life-threatening food allergies, today announced that it has entered into
       a definitive agreement for Sociétés des Produits Nestlé, S.A. to acquire Aimmune
       for $34.50 per share in an all-cash transaction, implying a fully-diluted equity value
       of $2.6 billion. Sociétés des Produits Nestlé, S.A. is a part of Nestlé Health Science
       (NHSc) and a wholly owned subsidiary of Nestlé S.A. The agreement was
       unanimously approved by all of the independent members of the Board of Directors
       of Aimmune. Greg Behar, CEO of Nestlé Health Sciences and an Aimmune
       Director, abstained due to his position with Nestlé Health Science.

       “The agreement with Nestlé recognizes the value created by years of commitment
       and dedication to our mission by the team at Aimmune. Delivering PALFORZIA,
       the world’s first treatment for food allergy, is a game-changing proposition in the
       bio pharmaceutical industry and is transformative for the lives of millions of people
       living with potentially life-threatening peanut allergy,” said Jayson Dallas, MD,
       President and Chief Executive Officer of Aimmune. “This acquisition provides
       strong value for our shareholders and ensures a level of support for PALFORZIA
       and our pipeline that will further enhance their potential for patients around the
       world living with food allergies. Aimmune appreciates the continued strong
       collaboration with Nestlé Health Science dating back to 2016 through their support
       as a shareholder and board member, as well as through their consumer/nutrition
       strength and experience. Their extensive capabilities and global reach, as well as
       their alignment with our vision of pioneering treatments and solutions for food
       allergies, are a strong fit for our company.”

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   “This transaction brings together Nestlé’s nutritional science leadership with one
   of the most innovative companies in food allergy treatment,” said Nestlé Health
   Science CEO Greg Behar. “Together, we will be able to create a world leader in
   food allergy prevention and treatment and offer a wide range of solutions that can
   transform the lives of people around the world living with food allergies.”

   The transaction is expected to close in the fourth quarter of 2020, pending the
   satisfaction of all conditions to the completion of the tender offer. Until that
   time, Aimmune will continue to operate as a separate and independent company.

   Aimmune’s financial advisors are J.P. Morgan Securities LLC and Lazard.
   Latham & Watkins LLP is acting as legal counsel for Aimmune.

   Transaction Details

   Under the terms of the merger agreement, Nestlé S.A.’s wholly-owned subsidiary,
   Société des Produits Nestlé S.A. (SPN), will commence a cash tender offer to
   acquire all outstanding shares of Aimmune common stock that are not already
   owned by NHSc for $34.50 per share in cash, and Aimmune agreed to file a
   recommendation statement containing the unanimous recommendation of
   the independent members of the Aimmune board that Aimmune stockholders
   tender their shares to SPN. Following the completion of the tender offer, Nestlé
   expects to promptly consummate a merger of Aimmune with a subsidiary of SPN,
   in which shares of Aimmune that have not been tendered in the tender offer will be
   acquired by SPN and converted into the right to receive the same cash price per
   share as paid in the tender offer.

   The closing of the tender offer is subject to customary closing conditions, including
   the tender of a majority of outstanding Aimmune shares on a fully diluted basis
   which shall include the shares of Aimmune common stock currently held by Nestlé
   and its affiliates and the expiration or termination of the waiting period under the
   Hart-Scott-Rodino Antitrust Improvements Act and antitrust approvals in
   Germany. The merger agreement includes customary termination provisions for
   both Aimmune and Nestlé.

   INDICATION

   PALFORZIA is an oral immunotherapy indicated for the mitigation of allergic
   reactions, including anaphylaxis, that may occur with accidental exposure to
   peanut. PALFORZIA is approved for use in patients with a confirmed diagnosis of
   peanut allergy. Initial Dose Escalation may be administered to patients aged 4
   through 17 years. Up-Dosing and Maintenance may be continued in patients 4 years
   of age and older.

   PALFORZIA is to be used in conjunction with a peanut-avoidant diet.

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       Limitations of Use: Not indicated for the emergency treatment of allergic reactions,
       including anaphylaxis.

   B. The Materially Incomplete and Misleading 14D-9

       26.     The Individual Defendants must disclose all material information regarding the

Proposed Transaction to Aimmune’s stockholders so that they can make a fully informed decision

whether to tender their shares in favor of the Proposed Transaction.

       27.     On September 14, 2020, defendants filed the 14D-9 with the SEC. A crucial

purpose of the 14D-9 is to provide the Company’s stockholders with all material information

necessary for them to make an informed decision on whether to tender their shares in favor of the

Proposed Transaction. However, significant and material facts were not provided to Plaintiff and

other Aimmune stockholders.        Without such information, Plaintiff and other Aimmune

stockholders cannot make a fully informed decision concerning whether or not to tender their

shares in favor of the Proposed Transaction.

               Materially Misleading Statements/Omissions Regarding the Management-
               Prepared Financial Forecasts

       28.     The 14D-9 discloses management-prepared financial projections for the Company

which are materially misleading. The 14D-9 indicates that in connection with the rendering of

JPMorgan’s fairness opinion, JPMorgan reviewed “certain internal financial analyses and

forecasts prepared by the management of the Company relating to its business.” Lazard reviewed

“various financial forecasts and other data provided to it by the Company relating to the business

of the Company” in rendering its fairness opinion. Accordingly, the 14D-9 should have, but failed

to, provide certain information in the projections that Aimmune’s management provided to the

Board and JPMorgan and Lazard.




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       29.     The 14D-9 fails to disclose the relationship between the long-range plans discussed

by the Board, the financial forecasts used by JPMorgan and Lazard in their analyses, and the

projections disclosed in the 14D-9. For the financial projections that were published, the 14D-9

fails to disclose all of the line items used to calculate EBIT as well as unlevered free cash flow

from 2020 to 2035, including stock-based compensation expense, taxes, expected working capital

requirements, depreciation, amortization and capital expenditures. With respect to the Early Long-

Term Projections, the 14D-9 fails to disclose the impact of the assumptions on the projections and

does not disclose the estimated operational costs that impact the projections. The 14D-9 further

fails to provide the Early Long-Term Projections that are not adjusted for the listed assumptions.

               Materially Incomplete and Misleading Disclosures Concerning the Flawed
               Process

       30.     Aimmune entered a two-year collaboration with a Nestlé affiliate in November

2016. As part of the agreement, Nestlé purchased 15.1% of Aimmune’s common stock in

exchange for $145 million. About a year later, Aimmune entered into a clinical collaboration with

Regeneron and Sanofi to study PALFORZIA’s treatment in conjunction with adjunctive

dupilumab.    Regeneron agreed to pay for the trial, while Aimmune provided a supply of

PALFORZIA and materials to determine desensitization.

       31.     In February 2018, Nestlé purchased another $30 million worth of Aimmune stock.

This purchase increased Nestlé’s holdings to 19%.

       32.     Aimmune agreed to extend its collaboration agreement with Nestlé in November

2018, with Nestlé paying $98 million for more Aimmune common stock. The extension created a

pipeline between the two companies, with Nestlé providing advice and expertise to the Company

on oral immunotherapy programs. The extension also allowed Nestlé to name one director to




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Aimmune’s Board so long as Nestlé held at least 10% of Aimmune’s outstanding stock. Nestlé

named defendant Behar as its representative on the Board.

       33.     The Company’s collaboration with Aimmune was extended again in February

2020. At that time, Nestlé invested $200 million in Aimmune through a purchase of both common

stock and Series A Preferred stock. The February 2020 investment extended the collaboration

agreement through November 2021, but capped Nestlé’s ownership at 19.9% and increased to 14%

the ownership required for Nestlé to name a director to the Board.

       34.     In the second quarter of 2020, Aimmune began reaching out to potential partners

for commercializing PALFORZIA in Europe. One such potential partner was Nestlé, and Nestlé

was interested. The 14D-9 does not disclose that according to the collaboration agreement, should

Aimmune seek a partner or collaborator for an oral immunotherapy program during the

collaboration, Nestlé has a three-month period to negotiate exclusively with the Company. That

includes commercialization plans for PALFORZIA. The 14D-9 further fails to disclose whether

Nestlé invoked the three-month exclusivity period, or whether there were further discussions with

Nestlé about transactions relating to commercialize PALFORZIA.

       35.     By July 7, 2020, Nestlé had recommended to its parent company, Nestlé S.A., that

Nestlé acquire Aimmune. Nestlé S.A. had conducted an exploratory review of Aimmune’s

business by then, as well. The 14D-9 does not disclose whether the exploratory review included

information obtained by defendant Behar in his role as a director of Aimmune, and when that

recommendation first had been made.

       36.     Three days later, Nestlé representatives proposed that Nestlé and the Board discuss

a potential acquisition of the Company. Nestlé suggested that $30.00 per share was an appropriate

price for starting discussions. The 14D-9 does not disclose whether defendant Behar was one of



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the Nestlé representatives present for the call, nor does the 14D-9 disclose which members of the

Board were present.

        37.    In fact, the 14D-9 fails to disclose defendant Behar’s role throughout the sales

process. At the beginning of the background section, the 14D-9 notes that references to defendant

Behar refer to his role at Nestlé, and the Board meetings and discussions did not include him. As

the CEO of Nestlé, it is probable that defendant Behar was involved in discussions and negotiations

between the two companies. Yet there are numerous instances where the 14D-9 mentions only

“members of Nestlé’s management” and does not state whether defendant Behar is included. That

includes discussions between members of Aimmune’s management and members of Nestlé’s

management on July 14, 2020, July 20, 2020, July 23, 2020, August 4, 2020, August 6, 2020,

August 24, 2020, and August 26, 2020. Similarly, the 14D-9 fails to disclose whether defendant

Behar was present when Aimmune’s management made a presentation to Nestlé’s management

on July 31, 2020, or if defendant Behar was one of the designated representatives of the Nestlé

board of directors that approved the offer of $34.50 per share sent to Aimmune on August 27,

2020.

        38.    Just as important, the 14D-9 fails to disclose whether there were other Board

meetings held in July and August 2020. The 14D-9 states that defendant Behar was not present at

the Board meetings described in the 14D-9. Stockholders need to know if there were other Board

meetings held that discussed Aimmune’s operations and, if so, whether defendant Behar attended

those meetings. This information would allow stockholders to decide if defendant Behar was

faithfully executing his duties to Aimmune, or if he was helping Nestlé in its bid for the Company.

        39.    Nestlé hoped to begin discussions with the Company about a potential acquisition,

opening with a price of $30.00 per share on July 10, 2020. On July 13, 2020, the Board discussed



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Aimmune’s value, as well as management’s business plans and objectives for 2020. The Board

also received a preliminary analysis of Aimmune’s potential valuations from Lazard. The 14D-9

does not disclose the business plans and objectives for 2020, nor Lazard’s preliminary valuations.

The 14D-9 also does not disclose whether Lazard relied on any internal financial information for

their analysis. However, the Board knew that $30.00 per share was not high enough to properly

value the Company.

       40.     On July 20, 2020, Nestlé informed Aimmune that it could potentially go up to

$32.50 per share if that would start discussions. The Board determined that was not a proper

valuation for the Company. Nestlé increased that to $34.00 per share on August 4, 2020. The

Board agreed that was enough to continue considering discussions, but not to waive a standstill

agreement with Nestlé. Instead, the Board agreed to a limited waiver of the standstill agreement

to allow Nestlé to conduct some due diligence of the company with the aim of an increased

valuation. That limited waiver was signed on August 8, 2020.

       41.     Between August 4, 2020, when Nestlé indicated a valuation of Aimmune of $34.00

per share, and August 24, 2020, when Nestlé expressed concerns of a valuation any higher than

that, the Board, Lazard, and J.P. Morgan were presented with more information on the Company’s

prospects. On August 4, 2020, management presented to the Board the Company’s long-range

plans. On August 21, 2020, the Board, Lazard, and J.P. Morgan attended a meeting where

Aimmune’s management presented the Company’s potential long-term plans, including potential

partners for commercializing PALFORZIA in Europe. The 14D-9 fails to disclose the long-range

plans and prospects discussed at either meeting.      But the Board and its financial advisors

understood that $34.00 per share was not a full valuation of Aimmune. Indeed, both JPMorgan

and Lazard informed Nestlé’s financial advisor that $34.00 “did not reflect a full valuation.” 14D-



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9 at 22. On August 25, 2020, both JPMorgan and Lazard discussed with the Board their

preliminary financial analyses of a transaction at $34.00 per share (which the 14D-9 does not

disclose). After that discussion, the Board directed JPMorgan and Lazard to tell Nestlé they

wanted a price over $35.00. The Board and its financial advisors agreed that $34.00 per share was

not enough.

       42.     While the Board may have believed that $34.00 per share did not properly value

Aimmune, it appears that some members of the Board were in favor of a transaction at that price.

A discussion on August 25, 2020 led the Board to direct defendant McDade to discuss with

defendant Behar that there was no consensus among the other directors as to whether to move

forward with a transaction at $34.00 per share. The 14D-9 does not disclose which director (or

directors) was in favor of moving forward. This information is crucial, as at least one director may

have had a competing interest.

       43.     Nestlé is not the Company’s only large stockholder. As of April 1, 2020, there are

six investors who hold a combined 54% of the Company’s shares. The next largest stockholder

after Nestlé is Longitude Venture Partners II, L.P. (“Longitude Venture Partners”), which first

invested in Aimmune in 2013 and holds 9.22% of the Company’s shares. Defendant Enright is

the founder and Managing Director of Longitude Venture Partners and is Longitude Venture

Partners’ named designate on the Board.

       44.     Like defendant Behar, defendant Enright was required to act as a faithful fiduciary

to both Aimmune and his employer. But if Aimmune was acquired at $34.00 per share, defendant

Enright’s firm stood to make a lot of money. Longitude Venture Partners invested $17 million in

Aimmune in November 2013 and was one of six investors for Aimmune’s $80 million financing

round in March 2015. According to the 14D-9, Longitude Venture Partners will receive $210.9



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million when the Proposed Transaction closes. At $34.00 per share, Longitude Venture Partners

would have received just $3 million less. And the timing was right for an exit from Aimmune.

Longitude Venture Partners was seeking investors for a new fund, aiming for $550 million when

the fund was announced in March 2019. On September 23, 2020, Longitude Venture Partners

announced that it had raised $585 million. A large profit on its Aimmune investment would mean

a large payday for the firm and happy investors. And happy investors are good for business.

       45.     On August 26, 2020, Nestlé informed Aimmune that it was prepared to make an

offer at $34.50 per share. This was an increase of 1.47% from its previous price offer. While the

Board had agreed for some time that $34.00 per share did not fully value the Company, and

JPMorgan and Lazard agreed that $34.00 per share was not a proper value, the Board agreed to

$34.50 per share. The 14D-9 states that the Board “believed that the [Merger Consideration] of

$34.50 per Share represented full and fair value.” 14D-9 at 26. At the same time, the Board

acknowledged that before the COVID-19 pandemic, Aimmune’s shares had traded higher than the

Merger Consideration. And the Board acknowledged that the Merger Consideration might not

reflect the full value of the Company after economic conditions improved. The 14D-9 does not

disclose the basis for the Board determining that the Merger Consideration reflected the full value

of Aimmune.

               Materially Incomplete and Misleading Disclosures Concerning JPMorgan and
               Lazard’s Financial Analyses

       46.     The 14D-9 fails to disclose key information relating to JPMorgan’s and Lazard’s

financial analyses, specifically concerning the valuation of Aimmune. Despite both financial

advisors informing Nestlé that $34.00 per share did not reflect a full valuation, each submitted

fairness opinions that suggest that $34.50 per share is on the high end of a fair price. For example,

JPMorgan’s Public Trading Multiples Analysis indicated an implied equity value for Aimmune of

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$10.25 to $34.50 per share, while the Discounted Cash Flow Analysis rendered an implied equity

value for Aimmune of $23.50 to $34.00 per share. Lazard’s Selected Public Companies Analysis

rendered an implied equity value for Aimmune of $16.00 to $30.10 per share and its Selected

Precedent Transactions Analysis indicated an implied equity value for Aimmune of $25.55 to

$32.70 per share.

       47.     The financial analyses also suffer from misstatements or omissions that render the

14D-9 misleading. With respect to JPMorgan’s Public Trading Multiples Analysis, the 14D-9 fails

to disclose the basis for using estimated revenues for 2024 for the analysis, and with respect to

JPMorgan’s Selected Transaction Analysis, the 14D-9 fails to disclose the basis for selecting the

fifth calendar year after a transaction was announced for its analysis. As for JPMorgan’s

Discounted Cash Flow Analysis, the 14D-9 fails to disclose the inputs and assumptions for

selecting growth rates of -40% to -20% and discount rates of 10.0% to 14.0%, the basis for

adjusting the analysis for an assumed equity raise of $125 million in 2021, and the number of

outstanding, fully-diluted shares. Additionally, the 14D-9 fails to disclose the firm value as

utilized in JPMorgan’s analyses, and the information underlying that calculation (equity value, net

debt and net cash).

       48.     The 14D-9 also fails to disclose crucial information from Lazard’s financial

analyses. With respect to Lazard’s Discounted Cash Flow Analysis, the 14D-9 fails to disclose

the inputs and assumptions for selecting growth rates of -40% to -20% and discount rates of 10.0%

to 12.0%, and the number of outstanding, fully-diluted shares as of August 26, 2020. With respect

to Lazard’s Selected Public Companies Analysis, the 14D-9 fails to disclose the basis for using

estimated revenues for 2023 for the analysis. Similarly, with respect to Lazard’s Selected




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Precedent Transactions Analysis, the 14D-9 fails to disclose the basis for selecting three-year

forward revenues for its analysis.

       49.     Finally, the 14D-9 fails to disclose information concerning potential conflicts of

interest on the part of the financial advisors. For example, the 14D-9 does not disclose whether

JPMorgan performed any services for Aimmune for which it received compensation. The 14D-9

further fails to disclose what fees, if any, JPMorgan received from Nestlé between August 1, 2020

and August 28, 2020. Lazard’s fairness opinion states that Lazard performed services for L’Oréal

S.A., which Lazard states is an affiliate of Nestlé, but the 14D-9 fails to disclose what services

were provided to L’Oréal S.A. or how much compensation Lazard received. The 14D-9 further

fails to disclose whether Lazard performed services for Aimmune or Nestlé and, if so, what

compensation was received.

       50.     This information is necessary to provide Company stockholders a complete and

accurate picture of the sales process and its fairness. Without this information, stockholders were

not fully informed as to the defendants’ actions, including those that may have been taken in bad

faith, and cannot fairly assess the process. And without all material information, Aimmune’s

stockholders are unable to make a fully informed decision in connection with the Proposed

Transaction and face irreparable harm, warranting the injunctive relief sought herein.

       51.     In addition, the Individual Defendants knew or recklessly disregarded that the 14D-

9 omits the material information concerning the Proposed Transaction and contains the materially

incomplete and misleading information discussed above.

       52.     Specifically, the Individual Defendants undoubtedly reviewed the contents of the

14D-9 before it was filed with the SEC. Indeed, as directors of the Company, they were required

to do so. The Individual Defendants thus knew or recklessly disregarded that the 14D-9 omits the



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material information referenced above and contains the incomplete and misleading information

referenced above.

          53.   Further, the 14D-9 indicates that on August 28, 2020, JPMorgan and Lazard

reviewed with the Board their financial analysis of the Merger Consideration and delivered to the

Board oral opinions, which were confirmed by delivery of written opinions of the same date, to

the effect that the Merger Consideration was fair, from a financial point of view, to Aimmune’s

stockholders. Accordingly, the Individual Defendants undoubtedly reviewed or were presented

with the material information concerning JPMorgan and Lazard’s financial analyses which has

been omitted from the 14D-9, and thus knew or should have known that such information has been

omitted.

          54.   Plaintiff is immediately threatened by the wrongs complained of herein, and lacks

an adequate remedy at law. Accordingly, Plaintiff seeks injunctive and other equitable relief to

prevent the irreparable injury that Plaintiff will continue to suffer absent judicial intervention.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                On Behalf of Plaintiff Against All Defendants for Violations of
                     Section 14(e) of the Exchange Act and Rule 14d-9

          55.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          56.   Defendants have filed the 14D-9 with the SEC with the intention of soliciting

Aimmune stockholder support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the 14D-9, which fails to provide the material

information referenced above.




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         57.    In so doing, defendants made materially incomplete and misleading statements

and/or omitted material information necessary to make the statements made not misleading. Each

of the Individual Defendants, by virtue of their roles as officers and/or directors of Aimmune, were

aware of the omitted information but failed to disclose such information, in violation of Section

14(e).

         58.    Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

make any untrue statement of a material fact or omit to state any material fact necessary in order

to make the statements made, in light of the circumstances under which they are made, not

misleading. . . .” 15 U.S.C. § 78n(e).

         59.    Specifically, and as detailed above, the 14D-9 violates Section 14(e) and Rule 14d-

9 because it omits material facts concerning: (i) management’s financial projections; (ii) the value

of Aimmune’s shares and the financial analyses performed by JPMorgan and Lazard in support of

their fairness opinions; and (iii) the sales process.

         60.    Moreover, in the exercise of reasonable care, the Individual Defendants knew or

should have known that the 14D-9 is materially misleading and omits material information that is

necessary to render it not misleading. The Individual Defendants undoubtedly reviewed and relied

upon the omitted information identified above in connection with their decision to approve and

recommend the Proposed Transaction; indeed, the 14D-9 states that JPMorgan and Lazard

reviewed and discussed their financial analyses with the Board during various meetings including

on August 28, 2020, and further states that the Board relied upon JPMorgan and Lazard’s financial

analyses and fairness opinions in connection with approving the Proposed Transaction. The

Individual Defendants knew or should have known that the material information identified above

has been omitted from the 14D-9, rendering the sections of the 14D-9 identified above to be



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materially incomplete and misleading.

          61.   The misrepresentations and omissions in the 14D-9 are material to Plaintiff and

other Aimmune stockholders, who will be deprived of their right to make an informed decision

whether to tender their shares if such misrepresentations and omissions are not corrected prior to

the end of the tender offer. Plaintiff has no adequate remedy at law. Only through the exercise of

this Court’s equitable powers can Plaintiff be fully protected from the immediate and irreparable

injury that defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          62.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          63.   The Individual Defendants acted as controlling persons of Aimmune within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Aimmune and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the 14D-9 filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          64.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the 14D-9 and other statements alleged by Plaintiff to be misleading prior to the time the

14D-9 was filed with the SEC and had the ability to prevent the issuance of the statements or cause

the statements to be corrected.

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       65.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The 14D-9 at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were, thus, directly involved in the making of the 14D-9.

       66.     In addition, as the 14D-9 sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

14D-9 purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       67.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       68.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(e) and Rule 14d-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in his favor and against the defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from filing any amendment
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to the 14D-9 with the SEC or otherwise disseminating an amendment to the 14D-9 to Aimmune

stockholders unless and until defendants agree to include the material information identified above

in any such amendment;

          B.     Preliminarily and permanently enjoining defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until defendants disclose the

material information identified above which has been omitted from the 14D-9;

          C.     In the event that the transaction is consummated prior to the entry of this Court’s

final judgment, rescinding it or awarding Plaintiff rescissory damages;

          D.     Directing the defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          E.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          F.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

 Dated: September 28, 2020                          RIGRODSKY & LONG, P.A.

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